                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                   AT KNOXVILLE

RHIANNON NICOLE TAGERT,                              )
                                                     )
       Plaintiff,                                    )
                                                     )       Civil Action No.
vs.                                                  )             JURY DEMAND
                                                     )
ANAKEESTA, LLC, and                                  )
SAFE-STRAP COMPANY, INC.,                            )
                                                     )
       Defendants.                                   )

                                         COMPLAINT


       1.     Jurisdiction of this court is founded upon the diversity of citizenship of the parties

and the amount in controversy which exclusive of interest and costs exceeds the sum of Seventy-

Five Thousand and No/100 Dollars ($75,000.00) under 28 U.S.C. § 1332, et seq.

       2.     The plaintiff is a citizen and resident of the state of Louisiana. Defendant

Anakeesta, LLC is a limited liability company in the state of Tennessee and operates the

Anakeesta Mountain Coaster in Gatlinburg, Tennessee within the Eastern District of Tennessee.

       3.     Defendant Safe-Strap Company, Inc. is a foreign corporation located at 13830

Jetport Commerce Parkway, Suite 2; Fort Myers, FL 33913-7726.

                                             FACTS

       4.     Plaintiff alleges that on October 6, 2018, she was on vacation in the city of

Gatlinburg, Tennessee and was visiting the Anakeesta Theme Park to view the sites. She then

purchased a ticket to ride the Anakeesta Mountain Coaster back down the mountain.




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       5.      Anakeesta provided the plaintiff with a chair lift to ride up to the top of the

mountain and then offered the option of a ride down on what is known as the Mountain Coaster,

which consists of a single seated coaster on a single rail.

       6.      The plaintiff elected to ride the Mountain Coaster down and was placed on the

seat of the Mountain Coaster when an attendant of defendant Anakeesta secured her on the seat

by strapping her in with a seatbelt provided on the runner. The belt was locked into place.

       7.      Plaintiff alleges that the seatbelt on the Mountain Coaster had been purchased by

and supplied to Anakeesta by defendant Safe-Strap Company, Inc. for the purpose of securing

the passengers on the Mountain Coaster for a safe ride down the mountain.

       8.      After purchasing her ticket and being seated on the Mountain Coaster, she started

down the mountain gaining speed, at which point, in a curve to the right, the seatbelt came loose

allowing her to be thrown off the Mountain Coaster onto the side of the mountain resulting in the

personal injuries and damages hereinafter set forth.

                                          NEGLIGENCE

        9.     Plaintiff alleges that the attendant, an agent, servant, and/or employee of

defendant Anakeesta, secured the seatbelt around the plaintiff and allowed her to proceed down

the mountain at which point, the seatbelt came loose throwing her off.

       10.     Plaintiff alleges that defendant Anakeesta through its agent, servant, and/or

employee failed to properly secure the seat belt prior to the plaintiff leaving the top of the

mountain resulting in the crash.

       11.     Plaintiff further alleges defendant Anakeesta was negligent in the design,

construction, and maintenance of the seat belt system on the Mountain Coaster rail runner which

combined with gross negligence to cause the plaintiff’s injuries.




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       12.     Plaintiff alleges that the Mountain Coaster was defectively designed in that there

were inadequate warnings.

       13.     Plaintiff further alleges that the design and operation of the Mountain Coaster rail

runner ride was under the exclusive control of defendant Anakeesta and defendant is therefore

liable for its defective condition on the day of the accident.

       14.     Plaintiff alleges the coaster was defective and/or unreasonable dangerous in

violation of Tenn. Code Ann. § 29-28-10, et seq.

                                       STRICT LIABILITY

       15.     Plaintiff alleges that defendants Anakeesta, LLC and Safe-Strap Company, Inc.

are liable under the Tennessee Products Liability Statute, Tenn. Code Ann. § 29-28-10, et seq. in

that the seat belt system on the rail runner on which plaintiff was seated was defective and/or

unreasonably dangerous at the time it was sold and installed in that it failed the consumer

expectations test when the seat belt came loose allowing the plaintiff to be thrown off the rail

runner and onto the mountain.

       16.     Plaintiff alleges that the combination of the fault of Anakeesta with regard to

negligence and defective condition and the fault of Safe-Strap with regard to its defective

equipment combined to cause plaintiff serious personal injuries as set out below.

       17.     Plaintiff alleges that as a result of the incident on October 6, 2018, she was

immediately transported from the scene to LeConte Medical Center and then to the University of

Tennessee Trauma Center in Knoxville, Tennessee, with serious injuries including a rotator cuff

tear, cuts, contusions to her shoulder, injuries to the nerves and soft tissues in her back and neck,

lacerations and bruises to her head and face, bruising to her left hip and thigh, all of which

required hospitalization, medical treatment both past and future.




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       18.     Plaintiff alleges that the aforesaid injuries are permanent in their nature, and in her

capacity to earn a living and enjoy life. Plaintiff alleges that she will incur future medical

expenses, loss of time from work including the ability to perform her regular job, pain and

suffering, past and future.

       19.     Plaintiff further alleges that this cause of action was first filed on August 1, 2019.

       20.     Plaintiff further alleges that an amended complaint was filed on August 6, 2019

and a second amended complaint was filed on September 26, 2019.

       21.     Plaintiff further alleges that the case was voluntarily dismissed by the Court on

December 20, 2021, with a right to refile within one year.

       WHEREFORE plaintiff demands judgment against the defendants each of them in the

sum of Two Million, Five Hundred Thousand and No/100 Dollars ($2,500,000.00) in damages

and demands a jury to try this cause.

                                               GILREATH & ASSOCIATES, PLLC


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